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               Exhibit E
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                                 UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF IDAHO
                                      SOUTHERN DIVISION

____________________________________
                                    )
United States of America,           )
                                    )
                    Plaintiff,      )                    Case No. 1:22-cv-329-BLW
                                    )
               v.                   )
                                    )
The State of Idaho,                 )
                                    )
                    Defendant.      )
____________________________________)

                              DECLARATION OF DAVID R. WRIGHT

        I, David R. Wright, of the Centers for Medicare & Medicaid Services (“CMS”) declare that

the following statements are true and correct to the best of my knowledge and belief, and that they

are based on my personal knowledge as well as information provided to me in the course of my

official duties.

        1.         I am the Director of the Quality, Safety & Oversight Group (“QSOG”) in the CMS

Center for Clinical Standards & Quality (“CCSQ”), United States Department of Health and Human

Services (“HHS”). QSOG provides guidance to state survey agencies and accrediting organizations
that evaluate Medicare health and safety standards for providers on behalf of CMS. One of these

Medicare health and safety standards is the Emergency Medical Treatment and Labor Act

(EMTALA), 42 U.S.C. § 1395dd.
        2.         Hospitals apply to become Medicare-certified by completing a CMS Form 855,

Medicare Enrollment Application (https://www.cms.gov/medicare/cms-forms/cms-

forms/downloads/cms855a.pdf).

        3.         Once the 855 form is submitted and approved, there is a certification process,

designed to determine whether a hospital complies with the standards required by Federal law and



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regulation, including Medicare Conditions of Participation (“CoPs”). 42 C.F.R. pt. 482 and 2 C.F.R.

pt. 485.

           4.    If approved for Medicare certification, the hospital receives a CMS Form 1561-

Health Insurance Benefit Agreement, which is signed by both the hospital and CMS (on behalf of

the Secretary of HHS). https://www.cms.gov/Medicare/CMS-Forms/CMS-

Forms/Downloads/CMS1561.pdf. The CMS Form 1561 states that “…the provider of services,

agrees to conform to the provisions of section 1866 of the Social Security Act and applicable

provisions in 42 CFR,” which includes EMTALA.

           5.    The hospital additionally submits an assurance of compliance with Title VI of the

Civil Rights Act of 1964, section 504 of the Rehabilitation Act of 1973 as amended.

           6.    Similar to the affirmations above, when a hospital submits its Medicare cost report

following the completion of its fiscal years, the Chief Financial Officer or hospital Administrator

must certify that he or she is “familiar with the laws and regulations regarding the provision of

health care services, and that the services identified in this cost report were provided in compliance

with such laws and regulations,” which include EMTALA. See https://www.cms.gov/Regulations-

and-Guidance/Guidance/Transmittals/Downloads/R3P240f.pdf

           7.    All of the attestations on these forms and reports discussed above—including the

CMS Form 1561, the assurance of compliance with nondiscrimination laws, and the certification on

the hospital’s Medicare cost report—are essential to the functioning of the Medicare program. CMS

reimburses providers only upon the understanding that those providers are complying with the

statutes and regulations governing the program.

           8.    There are 52 Medicare-participating hospitals in Idaho. 39 of these hospitals filed

claims with CMS for emergency room costs on their Medicare cost reports.

           9.    There are sixteen government-owned hospitals that participate in Medicare in Idaho.

State Hospital South (Blackfoot, Idaho) is a psychiatric hospital owned by the State of Idaho.

Additionally, Madison Memorial Hospital (Rexburg, Idaho), Kootenai Health (Coeur d’Alene,

Idaho), Bear Lake Memorial Hospital (Montpelier, Idaho), Benewah Community Hospital (St.

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Maries, Idaho), Caribou Medical Center (Soda Springs, Idaho), Cascade Medical Center (Cascade,

Idaho), Lost Rivers Medical Center (Arco, Idaho), Minidoka Memorial Hospital (Rupert, Idaho),

Nell J. Redfield Memorial Hospital (Malad, Idaho), Power County Hospital District (American Falls,

Idaho), Shoshone Medical Center (Kellogg, Idaho), Steele Memorial Medical Center (Salmon,

Idaho), Syringa General Hospital (Grangeville, Idaho), Valor Health (Emmett, Idaho), and Weiser

Memorial Hospital (Weiser, Idaho) are county-owned hospitals. All of the above-listed hospitals,

with the exception of State Hospital South, have filed cost reports that include emergency

department costs.

        10.      Medicare participating hospitals must meet the requirements of the EMTALA

statute enacted as Section 1867 of the Social Security Act (42 U.S.C. § 1395dd), the accompanying

regulations in 42 CFR § 489.24, and the related requirements at 42 CFR § 489.20(l), (m), (q), and (r).

EMTALA requires hospitals with emergency departments to provide an appropriate medical

screening examination to any individual who comes to the emergency department and requests such

an examination. And EMTALA prohibits hospitals with emergency departments from refusing to

examine or treat individuals with an emergency medical condition. The term “hospital” includes

critical access hospitals, which are typically smaller hospitals in rural communities that provide

limited inpatient and outpatient services.

        11.      Some obligations under EMTALA apply only to Medicare-participating hospitals

that have a dedicated emergency department, e.g., requirements related to providing a medical

screening examination and any necessary stabilizing treatment. However, some EMTALA recipient

hospital obligations, such as the obligation to provide stabilizing treatment, can also apply to

Medicare-participating hospitals that do not have a dedicated emergency department, such as a

hospital with specialized capabilities or facilities.




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        12.     A hospital’s EMTALA obligations apply both when a patient presents to the

emergency department directly or by way of a transfer1 from another medical provider. A Medicare-

participating hospital that has specialized capabilities or facilities may not refuse to accept an

appropriate transfer of an individual with an unstabilized emergency medical condition that requires

such specialized capabilities or facilities. Hospitals with specialized capabilities or facilities may

include, but are not limited to, hospitals with burn units, shock trauma units, neonatal intensive care

units, or hospitals that are regional referral centers that serve rural areas as defined by the

requirements at 42 CFR 412.96. This requirement to accept a transfer applies to any Medicare-

participating hospital with specialized capabilities that has appropriate staff and facilities available to

treat the condition, regardless of whether the hospital has a dedicated emergency department.

        13.     The goal of CMS’ health and safety oversight is compliance with the Medicare CoPs

and EMTALA, which themselves have the object of ensuring adequate care and advancing

beneficiary and general patient health and safety. 42 CFR § 489.53(b) provides the basis for

termination of a hospital’s Medicare provider agreement for failure to comply with the requirements

of EMTALA.

        14.     Through the passage of EMTALA, Congress obligated the Secretary of HHS to

enforce the statute to protect any individual coming to the emergency department requesting

examination or treatment for an emergency medical condition. As previously noted, CMS conditions

the receipt of Medicare money, in part, on compliance with the EMTALA statute.

        15.     HHS cannot meet its Congressional EMTALA mandate if state law prohibits

providers from providing the full range of care contemplated by the statute. Enforcing EMTALA

aligns with the missions of HHS and CMS, of which protecting and promoting access to healthcare

and emergency care are paramount.



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  A Medicare-participating hospital’s EMTALA obligations apply regardless of how a patient arrives at
its emergency department. However, in cases where a patient has arrived at that hospital through an
inappropriate transfer from another Medicare-providing hospital, the receiving facility should also report
the inappropriate transfer to CMS. 42 U.S.C. §1395(d)(2)(B).

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        16.     EMTALA assists in protecting those objectives while requiring healthcare providers

to render care to all individuals presenting to an emergency department that accepts Medicare

funding, regardless of their medical condition, ability to pay for medical services, or directly

conflicting state laws.

        17.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is

true and correct.

         Executed this 8th day of August, 2022 in Baltimore, Maryland.


                                         David R. Digitally   signed by
                                                     David R. Wright -S
                                                     Date: 2022.08.08
                                         Wright   -S 16:09:29 -04'00'
                                        _________________________
                                        David Wright
                                        Director
                                        Quality, Safety, and Oversight Group
                                        Centers for Clinical Standards & Quality
                                        Centers for Medicare & Medicaid Services
                                        United States Department of Health and Human Services




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